Case 2:18-cr-00019-SPQANPM Document 58 Filed 04/09/2Qe_,Page 1 of 3 PagelD 268

ams Doe! he
UNITED STAES OF AMERICA De: a rel i oie FLOR!

Vv.

FILED ,

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA,» _¢ Prt by 38
FORT MYERS DIVISION “°°!!!

CLERLUS TA
OE REEYVA
Case No. 2: 18-cr-19-FtM-38

JANE DOE

/

MOTION TO CONTINUE SENTENCING AND TO SEAL
(CORRECTED)

The defendant, Jane Doe, through counsel, files this Motion to Continue the Sentencing

and to Seal and states:

I.

2.

This matter is scheduled for sentencing for April 10, 2020.

The final version of the Pre-sentence Report was disclosed on March 27, 2020.

In response to the current national emergency related to the Corona Virus (COVID-
19), and consistent with the Section 15002(b) of the CARES Act, Chief United States
District Court Judge Stephen D. Merryday issued an Administrative Order on March
29, 2020 which finds that sentencing hearings during the period of the national

emergency cannot occur in person without serious jeopardy to public health and safety.

‘Pursuant to this Administrative Order should the defendant consent and the court

further find that delay of the sentencing will result in serious harm to the interest of
justice, the Court may conduct the sentencing by alternative means, either by video
conferencing, or if not reasonably available, telephonically.

While the defendant is in agreement that her sentencing hearing cannot take place on
April 10, 2020 without serious jeopardy to public health and safety, she also

maintains that this case is not of a nature where anything other than a live sentencing

so
Case 2:18-cr-00019-SPG,NPM Document 58 Filed 04/09/2Q., Page 2 of 3 PagelD 269

is appropriate. Indeed, should the parties continue to have divergent views as to an
appropriate sentence, serious harm to the interest of justice may occur if the
proceedings are conducted by alternate means.

6. Accordingly, given the current posture of the case, the defendant cannot consent to a
hearing by video-conferencing or by telephone.

7. Additionally, the defense has one potential witness who would have to travel to the
hearing and who falls within high-risk categories for COVID-19

8. For these reasons, the defendant requests a continuance of the sentencing hearing.

9. It is the understanding of the parties that the Court’s next reasonably available date,
taking into account the national emergency is May 26, 2020.

10. This case remains under seal.
WHEREFORE, the Defendant, Jane Doe, moves this Court to continue the sentencing

date until May 26, 2020, and to seal this motion and any order with respect thereto.

Respectfully submitted.

JAMES T. SKUTHAN
Acting Federal Public Defender

By:_s/Russell K. Rosenthal
Russell K. Rosenthal

Assistant Federal Defender
Florida Bar No. 0319244

2075 West First Street, Suite 300
Fort Myers, FL 33901
Telephone: 239-334-0397
Facsimile: 239-334-4109

russ_rosenthal@fd.org
Case 2:18-cr-00019-SPG,NPM Document 58 Filed 04/09/20. Page 3 of 3 PagelD 270

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this 9" day of April 2020, a true copy of the foregoing —
has been filed with this Court and a copy has been forwarded by electronically to Jeffrey
Michelland and Jesus Casas, Office of the United States Attorney, 2110 First Street, 3-137, Fort
Myers, FL 33901.
s/Russell K. Rosenthal

Russell K. Rosenthal
Assistant Federal Defender
